     Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 1 of 11




 1 MARK BRNOVICH
   Firm Bar No. 014000
 2
   Attorney General
 3
   Kevin D. Ray, No. 007485
 4 Leslie Kyman Cooper, No. 012782
 5 Kim S. Anderson, No. 010584
   Rusty D. Crandell, No. 026224
 6 Assistant Attorneys General
   1275 W. Washington Street
 7
   Phoenix, Arizona 85007-2926
 8 Telephone: (602)542-8349
   Email: EducationHealth@azag.gov
 9 Attorneys for State Defendants
10
                         IN THE UNITED STATES DISTRICT COURT
11                           FOR THE DISTRICT OF ARIZONA
12
     John Doe, et al.,                             Case No. CV-16-03001-PHX-SPL
13
14                        Plaintiffs,              STATE DEFENDANTS’
                                                   CONSOLIDATED RESPONSE TO
15 vs.                                             PLAINTIFFS’ MOTION FOR
16                                                 RECONSIDERATION
     Heritage Academy, Inc., et al.,               AND
17                                                 PLAINTIFFS’ MOTION FOR LEAVE
                          Defendants.              TO FILE A SECOND AMENDED
18                                                 COMPLAINT
19
                                                   Honorable Steven P. Logan
20
21                                         Introduction
22          The State Defendants present their consolidated response to Plaintiffs’ Motion for
23 Reconsideration and Plaintiffs’ Motion for Leave to File a Second Amended Complaint,
24 pursuant to this Court’s Order dated June 23, 2017. Doc. 110.
25          This Court should deny Plaintiffs’ request for reconsideration, which amounts to
26 nothing more than an effort to convince the Court to rethink a well-considered decision.
27 See e.g., Motorola, Inc. v. J.B. Rodgers Mech. Contractors, 215 F.R.D. 581, 582 (D.
28
     Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 2 of 11




 1 Ariz. 2003) (a motion for reconsideration is not “to be used to ask the Court to rethink
 2 what it has already thought”).     The “new” information that Plaintiffs offer does not
 3 address their fundamental failure to identify a basis upon which taxpayers may assert
 4 standing in this case against the State Defendants. Plaintiffs cannot escape the fact that
 5 the decisions they challenge are made by the Arizona State Board for Charter Schools
 6 (“Charter Board”) in an exercise of executive power.         They do not challenge any
 7 decisions made in an exercise of legislative power. Their claims thus cannot suffice to
 8 support a claim against the Charter Board that the use of taxpayer funding is
 9 unconstitutional.     Furthermore, Plaintiffs cannot rely on allegations about the
10 Legislature’s method of funding charter schools, which are funded from a lump sum
11 appropriation that is apportioned according to a statutory formula, to challenge decisions
12 made by the Charter Board, which is funded by a separate lump sum appropriation.
13 I.      Plaintiffs lack taxpayer standing as against the State Defendants.
14         “To state a case or controversy under Article III, a plaintiff must establish
15 standing.” Arizona Christian Sch. Tuition Org. v. Winn, 563 U.S. 125, 133 (2011), citing
16 Allen v. Wright, 468 U.S. 737, 751 (1984). Standing requires an “injury in fact” that is
17 “fairly traceable” to the challenged action of the defendant. Id. at 134, quoting Lujan v.
18 Defenders of Wildlife, 504 U.S. 555, 560-61 (1992). The injury “must affect the plaintiff
19 in a personal and individual way.” Id. “Absent special circumstances, however, standing
20 cannot be based on a plaintiff's mere status as a taxpayer,” because the Supreme Court
21 “has rejected the general proposition that an individual who has paid taxes has a
22 ‘continuing, legally cognizable interest in ensuring that those funds are not used by the
23 Government in a way that violates the Constitution.’” Id., quoting Hein v. Freedom
24 From Religion Found., Inc., 551 U.S. 587, 599 (2007).
25
26
27
28
                                                2
         Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 3 of 11




 1            This Court correctly concluded that Plaintiffs cannot assert standing as taxpayers
 2 against the State Defendants.1 This Court reached this conclusion because Plaintiffs’
 3 allegations “do not offer any link between the challenged expenditures of public funds
 4 and an exercise of legislative power.” Order, Doc. 105, at 6. Plaintiffs have not, and
 5 cannot, demonstrate a “logical link” between Plaintiffs’ taxpayer status and “the
 6 legislative enactment attacked,” as required by Flast v. Cohen, 392 U.S. 83, 102 (1968),
 7 because they have not attacked any specific legislative enactment. Furthermore, because
 8 no specific legislative enactment is challenged, Plaintiffs cannot show that a “challenged
 9 enactment exceeds specific constitutional limitations imposed upon an exercise of the
10 taxing and spending power.” Flast, 392 U.S. at 102-03.2 This Court should thus reject
11 Plaintiffs’ request for reconsideration and refuse leave to amend the complaint to the
12 extent Plaintiffs attempt to rely on taxpayer standing as a basis for bringing this action.
13            Plaintiffs do not attack any specific legislative enactment.     Doc. 105, at 6.
14 Plaintiffs do not allege that the statutes governing charter schools are unconstitutional.
15 Nor do Plaintiffs assert that any legislative enactment mandates or even allows
16 expenditures by government contrary to the Establishment Clause. They do not raise any
17 other challenge to any specific statute. Rather, Plaintiffs allege that the State Defendants
18 failed to properly carry out their oversight responsibilities pursuant to A.R.S. § 15-
19 182(E)(1) with respect to complaints about religious instruction at the Heritage schools.
20 Doc. 105, at 13. In other words, Plaintiffs challenge the way in which the Charter Board
21
22   1
    The State Defendants include the Charter Board members, its Executive Director, the
23 Superintendent of Public Instruction to the extent she is named other than in her capacity
   as a member of the Charter Board, and Craig Brown, Director of the Arizona Department
24 of Administration, a nominal party.
25   2
     Significantly, as the Court noted, the Supreme Court has not foreclosed the application
26 of Flast to challenges in federal court by state taxpayers. Doc. 105, p. 6, n.3. But, by the
   same token, neither has the Court expressly held that state taxpayers do have standing to
27 seek relief from federal court.
28
                                                  3
     Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 4 of 11




 1 exercises its discretion when it carries out its statutory responsibilities, not the nature of
 2 the responsibilities themselves.
 3         The failure to challenge a specific statute that allows or mandates spending on
 4 religious interests separates this case from Flast and Bowen v. Kendrick, 487 U.S. 589,
 5 595-96 (1988), as the United States Supreme Court’s opinion in Hein v. Freedom From
 6 Religion Foundation, Inc., makes clear. The Hein court explains why taxpayer standing
 7 was appropriate in Flast and Bowen; in so doing, it demonstrates why taxpayers here lack
 8 standing. In Flast, plaintiffs alleged that expenditures that were funded by a specific
 9 congressional appropriation and were undertaken pursuant to a congressional mandate
10 constituted an Establishment Clause violation. Hein, 551 U.S. at 603, citing Flast, 392
11 U.S. at 86. These expenditures were “funded by a specific congressional appropriation
12 and were disbursed to private schools (including religiously affiliated schools) pursuant
13 to a direct and unambiguous congressional mandate.” Hein, 551 U.S. at 604, citing Flast,
14 392 U.S. at 90.
15         Plaintiffs’ discussion of Flast omits any reference to the fact that the Flast
16 plaintiffs challenged a specific legislative enactment, the Elementary and Secondary
17 Education Act, which contemplated that funding would go to private religious schools for
18 the purchase of textbooks. They assert that “[i]t was enough that Congress provided the
19 money for the Commissioner to distribute and that the money ultimately ended up
20 funding religion.” Mot. for Recons. and Stay of June 22, 2017 Deadline to Amend the
21 Compl., Doc. 107 at 8. This characterization of Flast’s facts and its holding are simply
22 wrong. Similarly, Plaintiffs’ reliance on Bowen v. Kendrick is misplaced. There, the
23 Court allowed a taxpayer to bring an Establishment Clause challenge to the Adolescent
24 Family Life Act because it “expressly contemplated that some of [the specifically
25
26
27
28
                                                  4
         Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 5 of 11




 1 authorized . . . funds] might go to projects involving religious groups.” Hein, 551 U.S. at
 2 640, citing Bowen, 487 U.S. at 595-96.3
 3            This Court should, like the Supreme Court in Hein, decline to find that Plaintiffs
 4 have standing as taxpayers. Neither the plaintiffs in Hein nor Plaintiffs here challenge
 5 “any specific congressional action or appropriation.” Nor is there a request that the Court
 6 “invalidate any congressional enactment or legislatively created program as
 7 unconstitutional.”       Id. at 605.   There, as here, the funding comes from “general
 8 appropriations” that do not “expressly authorize, direct, or even mention the expenditures
 9 of which respondents complain.” Id. There is no law that contemplates that any funds
10 will be allocated to religious instruction. In fact, Arizona law provides that funds will not
11 be allocated for religious instruction. See A.R.S. § 15-183(E)(2) (requiring the charters
12 ensure that charter schools are nonsectarian in their programs); A.R.S § 15-535
13 (prohibiting certificated teachers from engaging in sectarian instruction), Ariz. Const.
14 Art. XI, §7 (prohibiting sectarian instruction in any school or educational institution
15 established under the Arizona constitution), Ariz. Const. Art. IX, § 10 (prohibiting the
16 Legislature from laying a tax or appropriating funding in aid of a sectarian school).
17            This failure to identify a specific appropriation of funds “occasioned solely by the
18 activities complained of” defeats Plaintiffs’ standing whether considered under Flast,
19 which governs challenges to Congressional spending, or Doremus v. Bd. of Educ. of
20 Borough of Hawthorne, 342 U.S. 429, 434 (1952), which governs challenges to state
21 spending. Because Plaintiffs’ allegation against the State Defendants—that they failed to
22 exercise their oversight responsibilities—cannot be tied to any specific appropriation,
23 they cannot assert standing as taxpayers.
24
     3
     This Court is not bound by the Minnesota district court’s decision in Am. Civil Liberties
25 Union v. Tarek Ibn Ziyad Acad., Civil No. 09–138, 2009 WL 2215072 (D. Minn. July 21,
26 2009). In any event, the Court’s decision to allow taxpayer standing there was colored by
   its realization that if it denied taxpayer standing to plaintiffs there, no other party would
27 bring an action. Id. at *6. Here, that is manifestly not the case.
28
                                                   5
         Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 6 of 11




 1            Plaintiffs argue that taxpayer standing is appropriate here because the legislature
 2 “established a charter school program and mandated exactly how much money each
 3 charter school will receive.” Doc. 107, at 10. They identify this as the “statutory
 4 scheme” that brings this case within Flast and Bowen. Id. But, as both this Court and
 5 Plaintiffs recognize, charter schools are funded by a legislative appropriation which is
 6 apportioned to schools according to a statutory formula that takes into account student
 7 enrollment, school size and certain characteristics of students, such as whether they are
 8 entitled to receive special education services, are English Language Learners, or in
 9 kindergarten through third grade.4 This funding scheme is not the same as the scheme
10 that was challenged in either Flast or Bowen.
11            Also, Plaintiffs do not allege that the Legislature either contemplates or mandates
12 that the general funding appropriated to charter schools will cover any costs of religious
13 instruction, or indeed, any activities at all related to religion. And, in fact, as a review of
14 Senate Bill 1522 and House Bill 2545 demonstrate (see fn. 4), the Legislature does not
15 contemplate funding such activities. Nowhere does either mention religion or religious
16 activities.
17            Furthermore, the legislative scheme that funds charter schools is entirely separate
18 from funding for the Charter Board. For that reason, there can be no taxpayer standing
19 against the Board. The allegation that taxpayer standing is present because the legislature
20
     4
21    State Defendants request that this Court take judicial notice of these official documents.
     Fed. R. Evid. 201: S.B. 1522, 53rd Leg., 1st Reg. Sess. (Ariz. 2017)
22   https://apps.azleg.gov/BillStatus/GetDocumentPdf/454115, contains the Legislature’s
23   appropriation from the general fund for basic state aid to district and charter schools for
     fiscal year 2018. See § 33 for the appropriation to Arizona Department of Education for
24   basic state aid to district and charter schools. The budget reconciliation bill for education
     for fiscal year 2018 is at H.B. 2545, 53rd Leg., 1st Reg. Sess., (Ariz. 2017),
25   https://apps.azleg.gov/BillStatus/GetDocumentPdf/454114, See also A.R.S. § 15-901
26   (defining average daily membership, base support level and other terms used in
     determining a school’s funding); A.R.S. § 15-943 (describing “base support level” and
27   “weighted student count” factors for purposes of school funding).
28
                                                   6
         Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 7 of 11




 1 appropriates money for charter schools and gave the Charter Board authority to grant
 2 charters to schools should not suffice to allow a taxpayer to challenge specific decisions
 3 of the Charter Board. See Doc. 107 at 9; Lodged Second Am. Compl., Doc. 109, ¶ 310
 4 (“Heritage Academy receives public funds because the legislature created and approved a
 5 charter-school program in which Heritage participates.”) The decisions at issue here are
 6 regulatory decisions, such as whether to grant a charter or how to investigate a complaint,
 7 pursuant to its statutory authority. The Charter Board, which carries out these functions,
 8 is funded separately from the funding that Heritage receives.5 And Plaintiffs have failed
 9 to even identify this funding, let alone make any allegation linking the alleged wrongful
10 conduct, any specific statute and this appropriation.
11            Plaintiffs also argue that their allegation that the Heritage Schools have spent a
12 measurable amount of money on textbooks in furtherance of religious instruction suffices
13 to support taxpayer standing. However, the public funding provided to Heritage is
14 governed by a statutory formula and does not change based on Heritage’s decisions about
15 how to spend that money. Furthermore, none of the State Defendants played any role in
16 any decision by Heritage with respect to how to allocate its funding generally, or more
17 specifically, with respect to the selection and use of any textbooks or other instructional
18 materials. Thus, Plaintiffs cannot show the requisite “dollars-and-cents injury” tied to
19 any action taken by the State Defendants here.            See Doremus, 342 U.S. at 434.
20 Therefore, even accepting the claim as true, it cannot support taxpayer standing in
21 furtherance of a claim against the State Defendants.
22            Lastly, neither PLANS, Inc. v. Sacramento City Unified Sch. Dist., 319 F.3d 504
23 (2003) nor Am. Civil Liberties Union of Massachusetts v. Sebelius, 697 F.Supp. 2d 200
24 (2010) supports standing against the State Defendants.          In PLANS, the court found
25 standing because plaintiffs “objected to the entire Waldorf curriculum of the two schools
26
27   5
         See § 18 of S.B. 1522 for the lump sum appropriation to the Charter Board.
28
                                                   7
         Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 8 of 11




 1 in question” as religious. PLANS, 319 F.3d at 506. No such allegation is made here. In
 2 Sebelius, the district court labeled it a close question, but concluded that the ACLU had
 3 alleged a sufficient link between the “congressional power to tax and spend and a
 4 possible violation of the Establishment Clause in the grant of public funds to the
 5 USCCB.” Sebelius, 697 F. Supp. 2d at 210. There is no reason for this Court to extend
 6 taxpayer standing here as the Massachusetts court did in Sebelius.
 7 II.        The Charter Board Does Not Exercise “Delegated Legislative Authority.”
 8            This Court should reject Plaintiffs’ half-hearted attempt to argue that the Charter
 9 Board exercises “delegated legislative authority,” pursuant to Misretta v. United States,
10 488 U.S. 361, 412 (1989). Doc. 107, at 8. There, the Supreme Court concluded that the
11 United States Sentencing Commission did not exercise excessive legislative authority, in
12 violation of the non-delegation doctrine. The Court did not announce, or even address,
13 any rule that might guide one in determining what it would mean to exercise “delegated
14 legislative authority,” apart from the question of whether the non-delegation doctrine had
15 been violated. Moreover, although Plaintiffs assert that the Charter Board exercises
16 delegated legislative authority because three of its members are legislators6 and it
17 recommends legislation, it does not explain how these facts compel that conclusion. In
18 fact, many State boards and commissions include legislators, yet do not exercise
19 delegated legislative authority. And, nothing compels the conclusion that the Legislature
20 delegated legislative authority to the Charter Board when it gave them the responsibility
21 to “recommend legislation,” (A.R.S. § 15-182(E)(1)), a task that anyone, regardless of
22 affiliation, may undertake in our democracy.
23
24   6
     The legislators rarely attend meetings. The Court can take judicial notice of this fact,
   pursuant to Fed. R. Evid. 201, because the Charter Board publishes a meeting summary
25
   on    its     website    at    https://asbcs.az.gov/board-staff-information/meeting-dates-
26 materials/archive. The meeting summaries identify the Board members who were present
   at a meeting.
27
28
                                                   8
         Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 9 of 11




 1 III.       The Doe Plaintiff Should Be Required to Reveal His True Identity to the State
              Defendants.
 2
              Plaintiffs challenge this Court’s requirement that the Doe Plaintiff use his true
 3
     initials. They explain that the Doe Plaintiff’s use of his true initials will likely make it
 4
     easy for members of the Heritage school community to determine his true identity and
 5
     more importantly, that of his children. Doc. 107, at 13 – 17. But the Doe Plaintiff does
 6
     not mention any concerns that justify his continuing to hide his identity from the State
 7
     Defendants. And, in fact, there is no reason for the Doe Plaintiff’s identity to be kept
 8
     from the State Defendants. See e.g., Doe v. Kamehameha Schs./Bernice Pauahi Bishop
 9
     Estate, 596 F.3d 1036, 1042 (9th Cir. 2010) (describing the five factors that justify
10
     allowing a party to proceed anonymously). The State Defendants, or at the very least,
11
     appropriate staff members of the State Defendants and their counsel, should be permitted
12
     to know the Doe Plaintiff’s true identity. State Defendants and their counsel need this
13
     information to determine whether the Doe Plaintiff made any complaints to the Charter
14
     Board so that they can make an informed decision with respect to whether to challenge
15
     his standing to maintain this claim against the State Defendants. For this reason, the
16
     State Defendants respectfully request that this Court require the Doe Plaintiff to reveal
17
     his true identity to the State Defendants, including staff of the State Defendants, who will
18
     agree to keep such information confidential unless and until it is otherwise revealed.7
19 IV.        Plaintiffs Failed to Comply with the Court’s Order to File a Compliant
20            Complaint.

21            Plaintiffs failed to comply with this Court’s Order, which required they file an

22 amended complaint consistent with this Court’s Order. Order, Doc. 105, at 25. Rather
23 than comply with the Court’s clear mandate, Plaintiffs chose to seek leave to file a
24 Second Amended Complaint that doubled down on the allegations like those that this
25   7
     At this point, State Defendants do not challenge the standing of the Doe Plaintiff to
26 assert  a claim or claims against the Charter Board alleging Establishment Clause
   violations personal to him and his child, but seek his identity to conduct discovery to
27 determine if such a challenge is warranted.
28
                                                  9
     Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 10 of 11




 1 Court had just dismissed.       This Court should not permit Plaintiffs to proceed in this
 2 fashion. Leave to file this non-compliant complaint should be denied.
 3
 4 V.       The Proposed New Plaintiffs Do Not State a Claim Against the State
            Defendants.
 5
            The proposed new plaintiffs do not state a claim against the State Defendants.
 6
     They do not allege that they made complaints to the Charter Board. For this reason, the
 7
     State Defendants do not address Plaintiffs belated effort to add new plaintiffs who
 8
     graduated the Heritage schools years ago.        However, the State Defendants join the
 9
     Heritage Defendants’ consolidated response to the extent it asserts a statute of limitations
10
     defense.
11
                                            Conclusion
12
            For the reasons stated above, the State Defendants respectfully request that this
13
     Court deny Plaintiffs’ Motion for Reconsideration and deny Plaintiffs’ Motion for Leave
14
     to Amend their Complaint.
15
            RESPECTFULLY SUBMITTED this 14th day of July, 2017.
16
17                                             MARK BRNOVICH
                                               Attorney General
18
                                               By /s/ Leslie Kyman Cooper
19
                                                 Kevin D. Ray
20                                               Leslie Kyman Cooper
                                                 Kim S. Anderson
21                                               Rusty D. Crandell
22                                               Assistant Attorneys General
                                                 Attorneys for State Defendants
23
24
25
26
27
28
                                                 10
     Case 2:16-cv-03001-SPL Document 119 Filed 07/14/17 Page 11 of 11




 1                                  CERTIFICATE OF SERVICE
 2              I hereby certify that on July 14, 2017, I electronically transmitted the attached
 3 document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4 Notice of Electronic Filing to the CM/ECF registrants of record.
 5
 6 /s/ Koren Lyons
 7   #6075613

 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                   11
